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   8                                   UNITED STATES DISTRICT COURT
   9                               CENTRAL DISTRICT OF CALIFORNIA
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  11 KIMBERLY J. ZION, individually and              CASE NO. 8:14−cv−01134−JVS−RNB
     as successor in interest to CONNOR              Judge: Hon. James V. Selna
  12 ZION,
                                                     JUDGMENT
  13                      Plaintiff,
  14             vs.                                 Action Filed: July 18, 2014
  15 COUNTY OF ORANGE, MICHAEL
     HIGGINS and DOES 1 through 10,
  16 inclusive,
  17                      Defendants.
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  20            On October 7, 2015, this Court granted in its entirety the Motion for
  21 Summary Judgment of Defendants, County of Orange and Michael Higgins,
  22 pursuant to Federal Rule of Civil Procedure 56 on the grounds that the claims as set
  23 forth in the Complaint of Plaintiff KIMBERLY ZION, individually and as successor
  24 in interest to Connor Zion, are without merit as a matter of law against Defendants
  25 County of Orange and Michael Higgins.
  26            In accordance with the Court’s Order granting the Defendants’ Motion for
  27 Summary Judgment, the Court now enters the following judgment.
  28            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
       4840-3444-0745.1
                                                     1                        8:14-cv-01134-JVS-RNB
                                                                            [PROPOSED] JUDGMENT
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   1            1.        Plaintiff Kimberly Zion, individually and as successor in interest to
   2 Connor Zion, shall recover nothing from Defendant County of Orange or Defendant
   3 Michael Higgins;
   4            2.        Nominal Defendant David Demulle shall recover nothing from
   5 Defendant County of Orange or Defendant Michael Higgins;
   6            3.        Judgment is entered in favor of Defendant County of Orange and
   7 Defendant Michael Higgins on all claims of Kimberly Zion; and
   8            4.        Defendant County of Orange and Defendant Michael Higgins shall
   9 recover costs of suit from Kimberly Zion.
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  12 DATED: October 22, 2015
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                                                    UNITED STATES DISTRICT JUDGE
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       4840-3444-0745.1
                                                        2                         8:14-cv-01134-JVS-RNB
                                                                                    [PROPOSED] ORDER
